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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             )
                                                     )
       v.                                            )       Crim. No. 1:19-cr-148
                                                     )
                                                     )
PRAKAZREL MICHEL                                     )
                                                     )


                                   JOINT STATUS REPORT

       The United States of America and Defendant Prakazrel Michel, by and through

undersigned counsel, submit this Joint Status Report in response to the Court’s Minute Order

directing the parties to “file a joint status report no later than September 27, 2024 proposing

deadlines for Memoranda in Aid of Sentencing.” Minute Order, Sep. 12, 2024. The parties jointly

propose December 20, 2024, as the deadline for Memoranda in Aid of Sentencing. The parties

also respectfully request that the Court set the sentencing hearing for January 10, 13, or 14 if any

of those dates are available and convenient for the Court.

Respectfully submitted,

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Chief, Public Integrity Section                      Counsel for Defendant Prakazrel Michel
Criminal Division
U.S. Department of Justice

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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

counsel of record.



Dated: September 26, 2024                         /s/ John D. Keller
                                                  John D. Keller




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